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Attorney for Plaintiff

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

Michael F. Foy, IV, a single or married
Case No.: 2:21-cv-02076-MTL

person.
Plaintiff,
RESPONSE TO:
Vs. MOTION TO DISMISS

Jennifer Vinson, a single or married
person, and Jane Does I-X, White
Partnerships I-X, and Black
Corporations I-X, AND Municipal
Entity I-X.

Defendants.

 

 

COMES NOW, Michael F. Foy (Plaintiff) by and through his undersigned
counsel, and for his, RESPONSE TO: MOTION TO DISMISS, states as follows:

Plaintiff states that Jennifer Vinson (Defendant) request, to this Court, that his
Complaint, filed in state court for defamation per se, should be dismissed because it does
not state a claim on which relief should be granted, in this Court, should be denied: as

same does state a claim for relief in accordance with rules of procedure in the court in

 
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which said complaint was filed; additionally, it does state a claim for relief in accordance
with rules of procedure in this Court. Moreover, Defendant’s belief that Plaintiff's claim
is barred by the statute of limitations is also in error based on being improperly pled, by a
tolling statute, and the time period in which the publication took place, which Defendant,
who took said actions of publication knows, or should have known, that her actions were
within the statute of limitations and thus not time barred. All of which is more fully set
forth in the proceeding Memorandum of Points and Authorities.

MEMORANDUM OF POINTS AND AUTHORITIES
I.) PROCEDURAL HISTORY:
1.) On August 29, 2020, Plaintiff filed a Complaint against Defendant in The
McDowell Mountain Justice Court, in and for, the County of Maricopa, alleging that
Defendant had published an internet website that accused him of the rape of several
women in the greater Phoenix area, including her; thereby defaming him. After said
filing Plaintiff sought three (3) extensions of time to serve Defendant, with said
Complaint (November 19, 2021, January 25, 2021, and March 16, 2021). All of said
Motions were granted. Thereafter, on June 9, 2021, the suit was dismissed because

Defendant could not obtain service of process on Defendant.

2.) On October 28, 2021, Plaintiff filed a Complaint against Defendant in The
Superior Court of the State of Arizona in and for the State of Arizona, alleging that
Defendant had published an internet website that accused him of the rape of several

women in the greater Phoenix area, including her; thereby, defaming him that named the

 
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website that contained said statements as http://metroophoenix.org. On November 7,

 

2021, Plaintiff served said Complaint on an individual who stated his name was “Ismael”)
at a residential residence that is owned by Defendant in Maricopa County. On Novembet
22, 2021, at 6:26 p.m., Defendant’s counsel sent an email to undersigned counsel
requesting an extension of time to file a response to the state court action, to December
16, 2021, which on November 23, 2021, at 9:29 a.m. via email undesigned counsel stated
he had no objection to same. Thereafter, Defendant filed, in the state court action, the
Pleading styled as, Unopposed Motion to Extend Time to Respond to Complaint, which

was granted.

3.) On December 7, 2021, Defendant filed in this Court the Pleading styled as, Notice

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of Removal of Civil Action. Thereafter, on December 13, 2021, sent at 8:08 p.m.
Defendant via email sent to undersigned counsel a correspondence, a ‘meet and confer
letter’, pursuant to LRCiv. 12.1(c) requesting that Plaintiff voluntarily dismiss the instant
action that gave undersigned counsel until 4:00 p.m. the next day to respond to said ‘meet
and confer letter’. Essentially, liberally put, an eight (8) hour time period to respond, wag
given by Defendant’s counsel. On December 14, 2021 at 6:35 p.m. undersigned counsel,
via email, sent Defendant’s counsel a correspondence in response to her ‘meet and confer
letter’ stating that he had just reviewed same and would never be able to make said
deadline and requested an extension to respond to same to December 17, 2021, on or

before 1:00 p.m. On December 14, 2021, at 6:47 p.m. Defendant filed her Motion to

Dismiss.

 
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Il.) ARGUMENT AS TO FAILURE TO STATE A CLAIM:

1.) | Defendant is correct that Fed. R. Civ. P., Rule 8(a)(2) states that a Complaint must
contain “‘a short and plain statement of the claim showing that the pleader is entitled to
relief” as articulated in the case she cites Bell Atlantic, but same is a federal case being
applied to a state court filed Complaint. And Defendant thereafter cites numerous federal
cases that state what the contents of a Complaint should contain and that if same are not
contained in same, then the Complaint should be dismissed pursuant to Fed. R. Civ. P.,
Rule 12(b)(6); and then concludes that Defendant’s Complaint “falls woefully short of
these requirements”. Plaintiff does not agree with Defendant’s conclusion that his
Complaint should be dismissed pursuant to Fed. R. Civ. P., Rule 12(b)(6) as the

Complaint does state a claim on which relief should be based.

2.) Plaintiff believes that his Complaint does state a claim on which relief should be
based for several reasons, they are:

a.) Plaintiff originally filed the instant action in state court; and
now Defendant requests that this Court apply federal rules of procedure to
same, Plaintiff believes that same in an unjust standard which this Court
should use in determining the sufficiency of the Complaint. That is,
Ariz.R.Civ.P., Rule 8(a)(2) is modeled after Fed. R. Civ. P., Rule 8(a)(2)
but the application of federal jurisprudence to establish the sufficiency of a
Defendant’s claim is unjust as the sufficiency of same should be
determined by Arizona jurisprudence, not federal. As it is stated in
Gatecliff v. Great Republic Life Ins. Co., 154 Ariz. 502, 508, 744 P.2d 29,
35 (Ariz. App. 1987) “[w]hen a complaint is the target of a rule 12(b)(6)

 
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motion, the court must assume the truth of all of the complaint's material
allegations, accord the plaintiffs the benefit of all inferences which the
complaint can reasonably support, and deny the motion unless certain that
plaintiffs can prove no set of facts which will entitle them to relief upon
their stated claims”. Or as stated more recently in Dube v. Likins, 167 P.3d
93, 99, 216 Ariz. 406, 411 (Ariz. App. 2007). "Because Arizona is a notice
pleading state, a complaint need only have a statement of the ground upon
which the court's jurisdiction depends, a statement of the claim showing
that the pleader is entitled to relief, and a demand for judgment”.

Defendant’s Complaint, filed in state court establishes the Parties.
the state court’s jurisdiction, and a short plain statement of facts that
establish that Defendant has created a certain website that states defamatory
statements against him and requests the court determine if Defendant’s
statements are defamatory with a request for damages. Thus, this Court
should by said Arizona jurisprudence recognize that Arizona is a notice
pleading state, it must assume the truth of all of the Plaintiffs material
allegations made against Defendant in his Complaint, accord Plaintiff the
benefit of all inferences made against Defendant in his Complaint as they
are reasonably supported in the Complaint and find that there does exist in
the Complaint a certain set of facts that entitle the Plaintiff to the relief he
seeks in same.

Or in the alternative if this Court does not find that Defendant’s
Complaint was written well enough to establish the tort of defamation then
Plaintiff seeks leave of this Court to amend his Complaint prior to dismissal
(plead in an accompanying motion). As by Arizona jurisprudence it is
stated in Wigglesworth v. Mauldin, 195 Ariz. 432, 438, 990 P.2d 26, 33
(Ariz. App. 1999) that “{b]efore the trial court grants a Rule 12(b)(6)
motion to dismiss, the non-moving party should be given an opportunity to

amend the complaint if such an amendment cures its defects”.

 
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Thusly, if this Court finds that Plaintiff's Complaint fails to state a
claim on which he is not entitled to relief because it is not plead or worded
correctly as averred by Defendant, Plaintiff seeks leave of this Court to
amend his Complaint before same is dismissed, pursuant to requirement as
stated in Wigglesworth and pursuant to Ariz.R.Civ.P., Rule 15(2) which

states “[l]eave to amend must be freely given when justice requires”.

b.) Plaintiff requests that if this Court does not determine that
Defendant’s request to be dismissed is not controlled by Arizona’s rules of
procedure and that the federal rules of procedure should apply to its
dismissal, then by the federal rules of procedure his claim is still not subject
to dismissal. That is, Fed. R. Civ. P., Rule 8(a)(2) is worded exactly as
Ariz.R.Civ.P., Rule 8(a)(2) with nearly the same development of federal
jurisprudence as Arizona jurisprudence. As it is stated in Conley v.
Gibson, 355 U.S. 41, 45-46, 78 S.Ct. 99, 101-02, 2 L.Ed.2d 80 (1957) in
analysis of a complaint being subject to dismissal pursuant to Fed. R. Civ.
P., Rule 12(b)(6) that it should not be dismissed "unless it appears beyond
doubt that the plaintiff can prove no set of facts in support of his claim
which would entitle him to relief." Moreover, it is stated in Shah v. County
of Los Angeles, 797 F.2d 743, 745 (9th Cir.1986); wherein, the district
court dismissed plaintiff's suit against defendant for failure to state a claim
that “[w]e review de novo a district court's dismissal of an action for failure
to state a claim. ..._ In conducting this review, we must assume the

correctness of all the factual allegations made by Shah, the party whose suit

the district court dismissed”.

Therefore, as previously stated Plaintiff's Complaint, filed in state
court, establishes the Parties, a short plain statement of facts that establish
that Defendant has created a certain website that states defamatory

statements against him and requests the court determine if Defendant’s

 
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statements are defamatory with a request for damages. Thus, this Court
should find that by said line of federal jurisprudence the Federal Rules of
Civil Procedure are also require notice pleading, and it must assume the
truth of all of the Plaintiff's material allegations made against Defendant in
his Complaint. To the conclusion, that Plaintiff's Complaint is reasonably
supported by a certain set of facts made in a short plain statement that
entitles the Plaintiff to the relief he seeks in same.

Or in the alternative if this Court does not find that Defendant’s
Complaint was written well enough to establish the tort of defamation then
Plaintiff seeks leave of this Court to amend his Complaint prior to
dismissal. As it is stated in Balistreri v. Pacifica Police Dept., 901 F.2d
696, 701 (9th Cir. 1990) Fed.R.Civ.P. 15(a), Defendants “request to amend
her complaint invokes Fed.R.Civ.P. 15(a), which requires that even where
amendment is not a matter of right, leave to amend shall "be freely granted
when justice so requires." Under well established Ninth circuit precedent
construing Rule 15(a), the court abused its discretion in not granting her

{defendant} leave to amend.

Cc.) Defendant states in her Motion to Dismiss that Plaintiff cannot cure
the alleged defects in his Complaint because the adding of additional facts
would only be in a “conclusory fashion” which Defendant avers is what is
plead in every complaint -conclusory facts- that establish -conclusory
claims- until subsequent discovery or trial on one’s stated facts and claims
prove so, or otherwise. What Defendant wants is trial based on her set of
facts not Plaintiffs, which by either Fed. R. Civ. P., Rule 12(b)(6) or
Ariz.R.Civ.P., Rule 12(b)(6) is not the standard, as stated above. As by the
federal or state rules of procedure it does not require that every fact that is

alleged in a complaint and every claim that is alleged in a complaint be

 
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support by an attached exhibit, affidavit, statute, or jurisprudence that
establishes that a certain claim exists in a particular jurisdiction. Because
even then the exhibit, affidavit, statute, or jurisprudence that establishes a
certain claim is subject to each parties’ ability to address same through the
discovery process, which may then establish the validity of same or the
validity of same may only be established by the trier of fact. Such a request
that Defendant makes of this Court would change the federal and state
system of pleading into code pleading system of procedure, as opposed to
its underlying principle of being a notice pleading system of procedure.
Additionally, Defendant states that Plaintiff cannot prove the
statements made by Defendant are false, without running afoul of
Fed.R.Civ.P. 11, conversely Defendant cannot prove from the Complaint or
her Motion to Dismiss that the statements are true without running afoul of
Fed.R.Civ.P. 11, as Plaintiff has stated to his counsel that the statements
made by Defendant are false; as, it is believed, Defendant has stated to her
counsel that the statements are true, both are equally conclusory until
discovery in the instant action has taken place. Moreover, what will be
stated in more detail in the proceeding section as it applies to Defendant’s
statute of limitations agreement is all of the documentary evidence Plaintiff
has that does prove Defendant’s identity and does establish that the

statements made in Defendant’s said website are false and thus defamatory.

ARGUMENT AS TO STATUE OF LIMITATIONS:

Defendant in her Motion to Dismiss requests that this Court dismiss Plaintiff's

Complaint, pursuant to Fed. R. Civ. P., Rule 12(b)(6), because it runs afoul of the

Arizona’s statute of limitations to Plaintiff's claim of defamation -a defense- which

Plaintiff avers is the incorrect rule of procedure on which a request to dismiss his

 
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Complaint should be based. That is, Fed. R. Civ. P., Rule 12(b)(6) specifically states

what claims are stated in said rule with none of them being that a complaint may be

dismissed based on the defense of the statute of limitations said Rule is inapplicable to

Defendant’s Motion to Dismiss. As the defense of a statute of limitations is clearly stated

in Fed. R. Civ. P., Rule 8 (c); wherein, it is states:
(c) Affirmative Defenses.

(1) In General. In responding to a pleading, a party must affirmatively state
any avoidance or affirmative defense, including:
* accord and satisfaction;

* arbitration and award;

* assumption of risk;

* contributory negligence;

* duress;

* estoppel;

¢ failure of consideration;

¢ fraud;

* illegality;

* injury by fellow servant;

* laches;

* license;

* payment;

* release;

* res judicata;

* statute of frauds;

* statute of limitations; and
* waiver

(Emphasis added)

Therefore, as Defendant has requested that Plaintiff's Complaint be dismisse
pursuant to Fed. R. Civ. P., Rule 12(b)(6) and as said rule does not allow a defense to b

brought by said Rule Defendant’s request should be denied based on her failure to plea

the request by the proper rule of procedure.

 
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2.) Or in the alternative if this Court does not dismiss Defendant’s Motion to Dismiss
for failure to plead her request for relief by the correct rule of procedure, Plaintiff seeks
that this Court deny Defendant’s Motion to Dismiss by law as her action of leaving the
state caused the statute of limitations to be tolled. That is, Arizona Revised Statutes
(A.R.S.) §12-501 is a statute that tolls the statute of limitations when a defendant
removes themselves from the State of Arizona, as the statute states:

When a person against whom there is a cause of action is without the state
at the time the cause of action accrues or at any time during which the action
might have been maintained, such action may be brought against the person
after his return to the state. The time of such person's absence shall not be
counted or taken as a part of the time limited by the provisions of this chapter.

Said statute application was addressed in Peters v. M & O Const., Inc., 579 P.2d 72
75, 119 Ariz. 34, 37 (Ariz. App. 1978); wherein, the court stated the following:

We reject this contention and hold that the filing of the original
complaint did not toll the statute of limitations. If a complaint is dismissed
without prejudice, the general rule is that the situation is the same as if the
suit had never been brought, unless there is a statute to the contrary. ... The
legislature has provided conditions which do toll the statute but defective
service is not such a condition. See ARS §§ 12-501, 12-502 and 12-507.

Applying Peters to the instant action, in recap, Plaintiff filed suit in Arizona
Justice Court on August 21, 2020, the matter was continued three (3) times because
Plaintiff was not able to obtain service on Defendant; and then dismissed on June 9,
2021, based on lack of service. On October 28, 2021, Plaintiff filed the instant action in
Arizona Superior Court on October 28, 2021, which Defendant sought removal of to this

Court on December 7, 2021. Hence, in Defendant’s Pleading styled as, Notice of

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Removal of Civil Action, affixed to said Pleading as Exhibit B is a, Declaration of
Jennifer Vinson in Support of Notice of Removal; wherein; Defendant (Ms. Vinson)
states at paragraph three (3) “‘[i]Jn March of 2021, I moved to Seattle for work. I have
been a resident of Seattle since that time” singed under the penalty of perjury. Defendant
incorporates and merges said Pleading into this Pleading by this reference to it.
Therefore, based on A.R.S. §12-501 Plaintiff's claim filed on August 21, 2020,
dismissed after Defendant moved out of the State of Arizona was tolled when Defendant
removed herself from the State of Arizona in March of 2021. Thus, Plaintiffs Complaint
is not barred by Arizona’s statute of limitations because of the tolling of his claim

pursuant to said statute.

3.) Orin the alternative if this Court does not dismiss Defendant’s Motion to Dismiss
for failure to plead her requested relief by the correct rule of procedure or pursuant to
A.R.S. §12-501 that tolls the statute of limitations when a defendant removes themselves
from the State of Arizona, then this Court should deny Defendant’s Motion to Dismiss
based on her republishing of her defamatory statement in four (4) different internet or
social media venues, that included revisions to her original publishing, inclusive of her
starting an online petition that sought that to enlist the members from said new venues
when Defendant stated “Sign this petition to let news organizations, the Glendale P.D.
and our justice system know we want this to stop. Let them know we are a strong. we
want actual justice for actual community members and we want our streets safe”.

That is, Defendant did state Arizona jurisprudence correctly when she cited the

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general rule as exposed in Larue that states:

Under this rule, a cause of action for defamation arises at the time
the statement is first published; later circulation of the original publication
does not start the statute of limitations anew, nor does it give rise to a new
cause of action.

But Defendant fails to state in her Motion to Dismiss the various exceptions to this
rule, as to when republication of the original statement gives rise to a second cause
of action; thereby, creating a new statute of limitations, as Larue also stated:

This appeal raises two issues of first impression in Arizona
regarding the accrual date of a cause of action for defamation: (1) whether
the single publication rule applies to defamatory statements published on
the Internet, and (2) what constitutes a republication of a statement posted

on the Internet.

Generally, republishing material in a new edition, editing and
republishing it, or placing it in a new form is a separate publication giving

rise to a separate cause of action.

A plaintiff has a new cause of action when “the defendant edits and
retransmits the defamatory material, or distributes the defamatory material
for a second time with the goal of reaching a new audience”.

(Supra, 445 & 446)
All of which Plaintiff will prove, as he has documentary evidence that establish
some time in February 2021, that Defendant edited her websites the bears the URL of

https://metoophoenix.com/ to add a link to it to an Instagram® account and a Twitter®

account that also contains editing from the original post. Moreover, in March of 2021.

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Defendant changed the URL of https://metoophoenix.com/ to https://metoophoenix.org/.
Then on August 25, 2021, a petition was created on a Change.org website that was then
shared through a link to her ‘Metoophoenix’ Twitter account; wherein, the above stated
quote was made in addition to several additional edits that stated more defamatory
language about Plaintiff to said Change.org website, as they are false, all of which
Plaintiff has documentary evidence of '. But, as argued above Plaintiff cannot attach all
of this evidence to his Complaint, nor to this response as pursuant to Fed. R. Civ. P., Rule
12(d) or Ariz.R.Civ.P., Rule 12(d) it would make Defendant’s Motion to Dismiss a
Motion, a motion for summary judgment.

Therefore, it is Plaintiffs position that although in Larue it was stated that Arizona
has a what the Court refers to as a ‘single publication rule’ Defendant’s edits and changes
of her original website to four different four (4) different internet or social media venues

constitutes republication of her original statements made to her https://metoophoenix.com

 

website as Plaintiff avers they are false and defamatory and thus defeats Defendant’s
claim that his Complaint is barred by said statute of limitations. In addition to a forty-fou
(44) page report from a private investigator that explains how Defendant sought to

disguise her identity through the various websites or social media platforms.

WHEREFORE, Plaintiff, for the above stated reasons, avers that his Complaint

that was filed on October 28, 2021, does state a claim on which relief should be based

 

' Additionally, on December 21, 2021, at 9:52 a.m. via email Plaintiffs counsel sent all
of the above stated documentary evidence and additional documentary evidence to
Defendant’s counsel, who has yet to respond to same.

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and is not barred by the statute of limitations, as alleged in Defendant’s Motion to
Dismiss, and as such Defendant’s Motion to Dismiss said should be denied, as from all off
the above stated there does exist a substantial factual basis to Plaintiffs claim that should
proceed to Defendant answering said Complaint and the discovery process, so Plaintiff
may formally produce and obtain additional evidence that Defendant’s statements made
on the various stated websites or social media platforms are false and of a defamatory per

se.

RESPECTFULLY SUBMITTED this 27" day of December, 2021.

By: /s/ Joel L. Brand, Esq.
Joel L. Brand, Esq.
THE LAW OFFICE OF JOEL L. BRAND
Attorney for Plaintiff

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CERTIFICATE OF SERVICE

I hereby certify that on December 27", 2021, a true and correct copy of the
foregoing document was filed electronically with the Court. Notice of this filing will be
sent by operation of the Court’s electronic filing system to all parties indicated on the

electronic filing receipt, including:

Stacy F. Gottlieb, Esq.

Lori V. Berke, Esq.

BERKE LAW FIRM, PLLC

1601 N. 7th Street, Suite 360

Phoenix, AZ 85006

Attorneys for Defendant Jennifer Vinson

By: /s/ Carriena J. Schulder
Carriena J. Schulder

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